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 8
                                UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
11      Orlando Garcia,                            Case No.

12                Plaintiff,
                                                   Complaint For Damages And
13        v.                                       Injunctive Relief For Violations
                                                   Of: American’s With Disabilities
14      Big 5 Corp., a Delaware                    Act; Unruh Civil Rights Act
        Corporation; and Does 1-10,
15
                  Defendants.
16
17
            Plaintiff Orlando Garcia complains of Big 5 Corp., a Delaware
18
      Corporation; and Does 1-10 (“Defendants”), and alleges as follows:
19
20
21      PARTIES:
22      1. Plaintiff is a California resident with physical disabilities. Plaintiff is a
23    level C-5 quadriplegic. He also suffers from Cerebral Palsy. He uses a
24    wheelchair, walker, and cane for mobility.
25      2. Defendant Big 5 Corp. owned Big 5 Sporting Goods located at or about
26    2062 S. Atlantic Blvd., Monterey Park, California, in October 2019.
27      3. Defendant Big 5 Corp. owns Big 5 Sporting Goods (“Store”) located at
28    or about 2062 S. Atlantic Blvd., Monterey Park, California, currently.


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 1      4. Plaintiff does not know the true names of Defendants, their business
 2    capacities, their ownership connection to the property and business, or their
 3    relative responsibilities in causing the access violations herein complained of,
 4    and alleges a joint venture and common enterprise by all such Defendants.
 5    Plaintiff is informed and believes that each of the Defendants herein,
 6    including Does 1 through 10, inclusive, is responsible in some capacity for the
 7    events herein alleged, or is a necessary party for obtaining appropriate relief.
 8    Plaintiff will seek leave to amend when the true names, capacities,
 9    connections, and responsibilities of the Defendants and Does 1 through 10,
10    inclusive, are ascertained.
11
12      JURISDICTION & VENUE:
13      5. The Court has subject matter jurisdiction over the action pursuant to 28
14    U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
15    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
16      6. Pursuant to supplemental jurisdiction, an attendant and related cause
17    of action, arising from the same nucleus of operative facts and arising out of
18    the same transactions, is also brought under California’s Unruh Civil Rights
19    Act, which act expressly incorporates the Americans with Disabilities Act.
20      7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
21    founded on the fact that the real property which is the subject of this action is
22    located in this district and that Plaintiff's cause of action arose in this district.
23
24      FACTUAL ALLEGATIONS:
25      8. Plaintiff went to the Store in October 2019 with the intention to avail
26    herself of its goods, motivated in part to determine if the defendants comply
27    with the disability access laws.
28      9. The Store is a facility open to the public, a place of public


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 1    accommodation, and a business establishment.
 2      10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 3    to provide accessible paths of travel inside the Store in conformance with the
 4    ADA Standards as it relates to wheelchair users like the plaintiff.
 5      11. On information and belief, the defendants currently fail to provide
 6    accessible paths of travel inside the Store.
 7      12. These barriers relate to and impact the plaintiff’s disability. Plaintiff
 8    personally encountered these barriers.
 9      13. By failing to provide accessible facilities, the defendants denied the
10    plaintiff full and equal access.
11      14. The failure to provide accessible facilities created difficulty and
12    discomfort for the Plaintiff.
13      15. The defendants have failed to maintain in working and useable
14    conditions those features required to provide ready access to persons with
15    disabilities.
16      16. The barriers identified above are easily removed without much
17    difficulty or expense. They are the types of barriers identified by the
18    Department of Justice as presumably readily achievable to remove and, in fact,
19    these barriers are readily achievable to remove. Moreover, there are numerous
20    alternative accommodations that could be made to provide a greater level of
21    access if complete removal were not achievable.
22      17. Plaintiff will return to the Store to avail himself of its goods and to
23    determine compliance with the disability access laws once it is represented to
24    him that the Store and its facilities are accessible. Plaintiff is currently deterred
25    from doing so because of his knowledge of the existing barriers and his
26    uncertainty about the existence of yet other barriers on the site. If the barriers
27    are not removed, the plaintiff will face unlawful and discriminatory barriers
28    again.


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 1      18. Given the obvious and blatant nature of the barriers and violations
 2    alleged herein, the plaintiff alleges, on information and belief, that there are
 3    other violations and barriers on the site that relate to his disability. Plaintiff will
 4    amend the complaint, to provide proper notice regarding the scope of this
 5    lawsuit, once he conducts a site inspection. However, please be on notice that
 6    the plaintiff seeks to have all barriers related to his disability remedied. See
 7    Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 8    encounters one barrier at a site, he can sue to have all barriers that relate to his
 9    disability removed regardless of whether he personally encountered them).
10
11    I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
12    WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
13    Defendants.) (42 U.S.C. section 12101, et seq.)
14      19. Plaintiff re-pleads and incorporates by reference, as if fully set forth
15    again herein, the allegations contained in all prior paragraphs of this
16    complaint.
17      20. Under the ADA, it is an act of discrimination to fail to ensure that the
18    privileges, advantages, accommodations, facilities, goods and services of any
19    place of public accommodation is offered on a full and equal basis by anyone
20    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
21    § 12182(a). Discrimination is defined, inter alia, as follows:
22              a. A failure to make reasonable modifications in policies, practices,
23                 or procedures, when such modifications are necessary to afford
24                 goods,     services,     facilities,   privileges,    advantages,      or
25                 accommodations to individuals with disabilities, unless the
26                 accommodation would work a fundamental alteration of those
27                 services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
28              b. A failure to remove architectural barriers where such removal is


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 1                 readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 2                 defined by reference to the ADA Standards.
 3             c. A failure to make alterations in such a manner that, to the
 4                 maximum extent feasible, the altered portions of the facility are
 5                 readily accessible to and usable by individuals with disabilities,
 6                 including individuals who use wheelchairs or to ensure that, to the
 7                 maximum extent feasible, the path of travel to the altered area and
 8                 the bathrooms, telephones, and drinking fountains serving the
 9                 altered area, are readily accessible to and usable by individuals
10                 with disabilities. 42 U.S.C. § 12183(a)(2).
11      21. When a business provides paths of travel, it must provide accessible
12    paths of travel.
13      22. Here, accessible paths of travel have not been provided.
14      23. The Safe Harbor provisions of the 2010 Standards are not applicable
15    here because the conditions challenged in this lawsuit do not comply with the
16    1991 Standards.
17      24. A public accommodation must maintain in operable working condition
18    those features of its facilities and equipment that are required to be readily
19    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
20      25. Here, the failure to ensure that the accessible facilities were available
21    and ready to be used by the plaintiff is a violation of the law.
22
23    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
24    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
25    Code § 51-53.)
26      26. Plaintiff repleads and incorporates by reference, as if fully set forth
27    again herein, the allegations contained in all prior paragraphs of this
28    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,


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 1    that persons with disabilities are entitled to full and equal accommodations,
 2    advantages, facilities, privileges, or services in all business establishment of
 3    every kind whatsoever within the jurisdiction of the State of California. Cal.
 4    Civ. Code §51(b).
 5       27. The Unruh Act provides that a violation of the ADA is a violation of the
 6    Unruh Act. Cal. Civ. Code, § 51(f).
 7       28. Defendants’ acts and omissions, as herein alleged, have violated the
 8    Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
 9    rights to full and equal use of the accommodations, advantages, facilities,
10    privileges, or services offered.
11       29. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
12    discomfort or embarrassment for the plaintiff, the defendants are also each
13    responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
14    (c).)
15
16              PRAYER:
17              Wherefore, Plaintiff prays that this Court award damages and provide
18    relief as follows:
19            1. For injunctive relief, compelling Defendants to comply with the
20    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
21    plaintiff is not invoking section 55 of the California Civil Code and is not
22    seeking injunctive relief under the Disabled Persons Act at all.
23            2. Damages under the Unruh Civil Rights Act, which provides for actual
24    damages and a statutory minimum of $4,000 for each offense.
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 1       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 2    to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 3
      Dated: December 13, 2019        CENTER FOR DISABILITY ACCESS
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 5
                                      By:
 6
 7                                    ______________________________

 8                                           Russell Handy, Esq.
                                             Attorney for plaintiff
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